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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                      :      Criminal Action No. 08-00616 (SRC)
                                              :
                        v.                    :                        ORDER
                                              :
 JOSEPH FERRIERO                              :
                                              :
                                              :
                                              :



CHESLER, U.S.D.J.

          This matter comes before the Court on the Motion to Vacate and Enter Order of

Dismissal by Defendant Joseph A. Ferriero (“Defendant”) [docket item #125], Motion for New

Trial, Motion to Set Aside Judgment and Motion for Acquittal filed by Defendant [docket item

#96], Motion for Acquittal and Motion for New Trial filed by Defendant [docket item #111] and

Motion for Disclosure filed by Defendant [docket item #113]. This Court has considered the

submissions by the parties in connection with these motions; and for the reasons discussed at the

oral argument held on July 29, 2010; and

          IT APPEARING that on October 22, 2009, a jury returned a verdict of guilty on one

count of conspiracy to defraud the Borough of Bergenfield (the “Borough”) and its citizens of

honest services (Count 1) and two counts of mail fraud (Counts 2 & 5) against Defendant and

issued a verdict acquitting Defendant on five counts of mail fraud (Counts 3, 4, 6, 7 & 8); and it

further

          APPEARING that Defendant was convicted on Counts 1, 2 & 5 of the indictment,

charging that Defendant used the United States mails for the purpose of executing a scheme and

artifice to defraud the Borough and its citizens of money and property and of the right to the
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honest services of the Borough’s attorney Dennis Oury, through the concealment of Oury’s role

as a principal in a company which contracts with the Borough; and it further

        APPEARING that the jury’s response to special interrogatories propounded after the

return of the general verdict indicates that the jury based its verdict upon a finding that Defendant

had participated in a scheme to defraud the Borough of the honest services of Dennis Oury, but

that Defendant had not participated in a scheme to defraud the Borough of money or property;

and it further

        APPEARING that on June 24, 2010, the United States Supreme Court held in Skilling v.

United States, 130 S. Ct. 2896, No. 08-1394, 2010 U.S. LEXIS 5259 (U.S. June 24, 2010) that a

viable mail fraud indictment charging a scheme to defraud of honest services required allegations

of bribery or kickbacks, and could not be based upon mere non-disclosure of a conflict of

interest; and it further

        APPEARING that Defendant’s conviction for participating in a scheme to defraud the

Borough of its employee’s honest services was not predicated upon an Indictment that alleged

bribery or kickbacks; therefore

        IT IS on this 30th day of July, 2010,

        ORDERED that the Motion to Vacate and Enter Order of Dismissal of Counts One, Two

and Five by Defendant Joseph A. Ferriero [docket item #125] be and hereby is GRANTED; and

it is further

        ORDERED that the Motion for New Trial, Motion to Set Aside Judgment and Motion

for Acquittal filed by Defendant [docket item #96] be and hereby is DISMISSED as MOOT;

and it is further

        ORDERED that the Motion for Acquittal and Motion for New Trial filed by Defendant
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[docket item #111] be and hereby is DISMISSED as MOOT; and it is further

       ORDERED that the Motion for Disclosure filed by Defendant [docket item #113] be and

hereby is DISMISSED as MOOT; and it is further

       ORDERED that bail be and hereby is exonerated and that Defendant’s passport shall be

returned to him.



                                                      s/ Stanley R. Chesler
                                                  STANLEY R. CHESLER
                                                  United States District Judge
